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                    Exhibit 19
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                                                                                                                               Western District of
                                                                                                                      Pennsylvania
      Wilmerding Man Sentenced To Prison For Conspiring To
                       Distribute Heroin
FOR IMMEDIATE RELEASE                                                                       August 14, 2012
                                                                                                                                     Archives
PITTSBURGH, Pa. - A resident of Wilmerding, Pa. has been sentenced in federal court to 41 months                           Department of Justice
imprisonment, followed by three years supervised release, on his conviction of violating federal narcotics
laws, United States Attorney David J. Hickton announced today.                                                                 U.S. Attorneys

Senior United States District Judge Donetta W. Ambrose imposed the sentence on Landon Claybourne, 30.                          Western District of
                                                                                                                      Pennsylvania
According to information presented to the court, from in or around August 2009, and continuing
thereafter to in or around September 2010, in the Western District of Pennsylvania and elsewhere,
Claybourne conspired with others to distribute and possess with the intent to distribute heroin.

Assistant United States Attorney Charles A. Eberle prosecuted this case on behalf of the government.

U.S. Attorney Hickton commended the federally administered Organized Crime and Drug Enforcement
Task Force (OCDETF) for the investigation leading to the successful prosecution of Claybourne. The task
force is headed by the Drug Enforcement Administration (DEA) and is comprised of members drawn from
the Baldwin Police, the Allegheny County Sheriff's Office, the Munhall Police, the Pittsburgh Police, the
Pennsylvania State Police, the Duquesne Police, the West Homestead Police, the Allegheny County Police,
and the Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF) - Financial Investigations Unit.
Assistance in the investigation was provided by the Penn Hills Police, the Monroeville Police, the McKees
Rocks Police, and the Wilkinsburg Police.

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